         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 1 of 21



                   IN THE UNITED STATES DISTRICT COURT FOR THE 
                               DISTRICT OF COLUMBIA 
                                           

OLUWASEUN A. EMOVON,​ (A# 204 986 919),      
 
  ​3839 Gannon Lane                          
   Apt. 2218  
                                                ​Case No. 1:19-cv-1259 
   Dallas Texas 75237 
   
    Plaintiff, 
 
v. 

UNITED STATES DEPARTMENT OF  
HOMELAND SECURITY, 
 
Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
UNITED STATES CITIZENSHIP AND 
IMMIGRATION SERVICES, 

Serve: U.S. Citizenship & Immigration 
       Services 
       425 I. Street, N.W., Room 6100 
       Washington, D.C. 20536 
 
KEVIN MCALEENAN, Acting Secretary of the 
Department of Homeland Security, 

Serve: Office of the General Counsel 
       Department of Homeland Security 
       Mail Stop 3650 
       Washington, D.C. 20528 
 
WILLIAM P. BARR, Attorney General of the 
United States, 

Serve: William P. Barr 
        Attorney General 
        Department of Justice 
        950 Pennsylvania Ave., NW 
        Washington, D.C. 20530 
 
L. FRANCIS CISSNA​, Director of the U.S. 
Citizenship & Immigration Services, 
 
Serve: U.S. Citizenship & Immigration 
             Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 2 of 21



        Services 
        425 I. Street, N.W., Room 6100 
        Washington, D.C. 20536 
                                                          
WILLIAM BIERMAN,​ Director of the Dallas 
Field Office of the United States Citizenship 
and Immigration Services, 

Serve: Mr. William Bierman 
       USCIS 
       6500 Campus Circle Dr. East 
       Irving, TX 75063 
 
and 

CHRISTOPHER WRAY, Director of the Federal 
Bureau of Investigation, 

Serve: Christopher Wray 
       FBI Headquarters  
       935 Pennsylvania Ave., NW 
       Washington, DC 20535-0001 
                                                          
  Defendants.              
 
 COMPLAINT IN THE NATURE OF MANDAMUS ARISING FROM DEFENDANTS’ REFUSAL 
      TO ADJUDICATE PLAINTIFF’S PETITION TO REMOVE CONDITIONS AND 
                          APPLICATION FOR NATURALIZATION 
                                                
     Plaintiff  Oluwaseun  Emovon  respectfully  requests that this Honorable Court issue a writ 

of  mandamus  compelling  Defendants  to  adjudicate  Plaintiff’s  long-delayed  petition  to  remove 

conditions on lawful permanent resident status and an application for naturalization. 

        1.       This  lawsuit  challenges  the  Defendants’  unlawful  delay  of  Plaintiff’s  petition  to 

remove  conditions,  as  well  as  an  application  for  citizenship,  under  a  secretive  policy  that  has 

blacklisted  Plaintiff  as  a  “national  security  concern,”  when  in  fact  Plaintiff  is  not,  and  illegally 

prohibited  Plaintiff  from  upgrading  his  immigration  status  to  that  of  U.S.  citizen,  despite  being 

statutorily eligible to do so. 

        2.       Plaintiff  is  a  law-abiding,  long-time  resident  of  the  United  States  who meets the 

statutory criteria to be naturalized as an American citizen.  

        3.       Plaintiff resides in Dallas, Texas.   
              Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 3 of 21



         4.       Plaintiff was born in Nigeria and is a citizen of Nigeria. 

         5.       Plaintiff  became  a  lawful  permanent  resident  on  February  28,  2014  based  on  a 

lawful marriage to a U.S. citizen. 

         6.       Plaintiff and the U.S. citizen remain married to this day. 

         7.       Plaintiff  and  the  U.S.  citizen  spouse  filed  a  timely  I-751  Petition  to  Remove 

Conditions on January 29, 2016.   

         8.       Defendants  have  failed  to  adjudicate  that I-751 and it has now been pending for 

three years​, well outside stated processing times. 

         9.       Plaintiff  filed  a  timely  N-400  Application  for  Naturalization  on  November  10, 

2017. 

         10.      Plaintiff  thereafter  completed  biometrics  (photographing  and  fingerprinting)  at 

the local USCIS field office. 

         11.      Since  that  time,  USCIS  has  refused  to  adjudicate  Plaintiff’s  I-751  and  N-400 

applications  in  accordance  with  applicable  legal  criteria.  Instead,  USCIS  has  applied  different 

rules  under  a  policy  known  as  the  Controlled  Application  Review  and  Resolution  Program 

(“CARRP”), which has resulted in the agency refusing to adjudicate Mr. Plaintiff’s application. 

         12.      Plaintiff  has  made  repeated  requests  to  USCIS  to  have  the  case  finally 

adjudicated. None of these efforts have resulted in movement on the case. 

         13.      Plaintiff  brings  this  action  to  compel  the  USCIS to finally adjudicate the pending 

application for naturalization as required by law. 

         14.      The  Constitution  expressly  assigns  to  Congress,  not  the  executive  branch,  the 

authority  to  establish  uniform  rules  of  naturalization.  The  Immigration  and  Nationality  Act 

(“INA”) sets forth such rules.  

         15.      When  these  rules  and  requirements  have  been  met,  as  they  have  been  in 

Plaintiff’s cases, USCIS is obligated to grant citizenship. 
           Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 4 of 21



         16.    Since  2008,  however,  USCIS  has  used  CARRP—an  internal  policy  that  has 

neither  been  approved  by  Congress  nor  subjected  to  public  notice  and  comment—to 

investigate  and  adjudicate  applications  deemed  to  present  potential  “national  security 

concerns.”  

         17.    CARRP  prohibits  USCIS  field  officers  from  approving  an  application  with  a 

potential  “national  security  concern,”  instead  directing  officers to deny the application or delay 

adjudication—often indefinitely—in violation of the INA. 

         18.    CARRP’s  definition  of  “national  security concern” is far more expansive than the 

security-related  ineligibility  criteria  for  immigration  applications  set  forth  by  Congress  in  the 

INA.  

         19.    CARRP  identifies  “national  security  concerns”  based  on  deeply-flawed  and 

expansive  government  watchlists,  and  other  vague  and  imprecise  criteria  that  bear  no relation 

to the security-related statutory ineligibility criteria.  

         20.    The  CARRP  definition  illegally  brands  innocent,  law-abiding  residents,  like 

Plaintiff,  who  does  not  pose  a  security  threat,  as  “national  security  concerns”  on  account  of 

innocuous  activity  and  associations,  innuendo,  suppositions  and  characteristics  such  as 

national origin. 

         21.    Although  the  total  number  of  people  subject  to  CARRP  is  not  known,  USCIS 

data  reveals  that  between  FY2008  and  FY2012,  more  than  19,000  people  from  twenty-one 

Muslim-majority countries or regions were subjected to CARRP. 

         22.    Due  to  CARRP,  USCIS  has  not  adjudicated  Plaintiff’s  application,  as  the  law 

requires.  

         23.    Although  USCIS  has  thus  far  prevented  Plaintiff  from  becoming  U.S.  citizens, 

the  Defendants  have  not  notified  Plaintiff  that  they  consider  him  to  be  a  potential  “national 

security  concern,”  provided  the  reasons  why  they  have  classified  him  in  this  way,  or  afforded 
              Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 5 of 21



him any opportunity to address and correct any basis for USCIS’s concerns. 

         24.      Plaintiff  therefore  requests  that  the Court enjoin USCIS from applying CARRP to 

this  immigration  application  and  declare  that  CARRP  violates  the  INA;  Article  1,  Section  8, 

Clause  4  of  the  United  States  Constitution  (the  naturalization  clause);  the  Due  Process Clause 

of  the  Fifth  Amendment  to  the  U.S.  Constitution;  and  the  Administrative  Procedure  Act 

(“APA”). 

                                                     PARTIES 

         25.      Plaintiff  is  a  citizen  of  is  a  citizen  of  Nigeria,  a  country  with  a  significant  Muslim 

population. Plaintiff is not a Muslim.  

         26.      Defendant  Department  of  Homeland  Security  (hereinafter  sometimes  referred to 

as  “the  DHS”)  is  the  agency  of  the  United  States  that is responsible for implementing the legal 

provisions  governing  applications  for  renewal  of  temporary  protected  status  and  conducting 

background and security checks. 

         27.      Defendant  United  States  Citizenship  and  Immigration  Services  (hereinafter 

sometimes  referred  to  as  “USCIS”)  is  the  component  of  the  DHS  that  is  responsible  for 

processing  petitions  applications  for  TPS  and  for  work  authorization  by  immigrants  such  as 

Plaintiff. 

         28.      Defendant  Kevin  McAleenan,  the  Acting  Secretary  of  the  DHS,  is  the  highest 

ranking  official  within  the  DHS.  McAleenan  s  responsible  for  the  implementation  of  the 

Immigration  and  Nationality  Act  (hereinafter  sometimes  referred  to  as  “the  INA”),  and  for 

ensuring  compliance  with  applicable  federal  law,  including  the  Administrative  Procedures  Act 

(hereinafter  sometimes  referred  to  as  “the  APA”).  McAleenan  is  sued  in  an official capacity as 

an agent of the government of the United States. 

         29.      Defendant  L.  Francis  Cissna,  Director  of  the  USCIS,  is  the  highest  ranking 

official  within  the  USCIS.  Cissna is responsible for the implantation of the INA and for ensuring 
            Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 6 of 21



compliance  with  all  applicable  federal  laws,  including  the  APA.  Cissna  is  sued  in  his  official 

capacity as an agent of the government of the United States.  

        30.     Defendant  William  Bierman,  Director  of  the  Dallas  Field  Office  of  the  USCIS,  is 

the highest ranking official within the Dallas Field Office.  The Dallas Field Office has jurisdiction 

over  applications  for  removal  of  conditions  and  for  naturalization  for  immigrants  in  portions  of 

the  State  of  Texas,  including  Dallas,  where  Plaintiff  resides.  Bierman  is  responsible  for  the 

implantation  of  the  INA  and  for  ensuring  compliance  with  all  applicable  federal  laws, including 

the  APA.  Bierman  is  sued  in  an  official  capacity  as  an  agent  of  the  government  of  the  United 

States.  

        31.     Defendant  Christopher  Wray  is  the  Director  of  the  Federal  Bureau  of 

Investigation  and  he  is  sued  only in his official capacity, as well as his successors and assigns. 

The FBI is headquartered at 935 Pennsylvania Avenue, NW, Washington, DC 20535. 

        32.     Defendants,  who  are  officers  of  CIS  and  the  Federal  Bureau  of  Investigation 

(“FBI”),  the  Secretary  of the Department of Homeland Security, and the Attorney General of the 

United States, are responsible for the naturalization process.  

        33.     In  November  2002,  Defendants  drastically  altered  the  naturalization  procedure 

by  requiring  a  vastly  expanded  FBI  name  check  to  be  conducted  on  every  application  even 

though  it  is not required by either statute or regulation. Implementation of this unwarranted and 

cumbersome  new  name  check  procedure  has  resulted  in  months-long  and  even  years-long 

delays in naturalization adjudication for Plaintiff. 

        34.     CIS’s  own  Ombudsman  has  stated  that  the  FBI  name  check  used  in 

naturalization  applications  is  of questionable value in detecting persons who may pose a threat 

to  security.  Nevertheless,  CIS  uses  the  FBI  name  check  without  imposing  deadlines  for 

completion.  In  requiring  and  conducting  name  checks,  both  CIS  and  the  FBI  have  acted  with 

complete  disregard  for  Congress’  plain  directive  that  CIS  should  complete  the  processing  of 
           Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 7 of 21



naturalization  applications  within  six  months  from  the  date  of submission. Through their use of 

FBI  name  checks,  CIS  and  the  FBI  have  unreasonably  delayed  the  processing  of  the 

naturalization  application  of  Plaintiff,  and  CIS  has  unlawfully  withheld  final  adjudication  of  this 

application. 

        35.      Defendants’  unlawful  conduct  has  deprived  Plaintiff  of  the  privileges  of  United 

States  citizenship.  Plaintiff  cannot  vote,  serve  on  juries,  expeditiously  sponsor  immediate 

relatives  living  abroad  for  permanent  residence,  receive  business  and  education  loans  and 

benefits  reserved  for  citizens,  participate  in  the  Visa  Waiver  Program,  or  travel  abroad  and 

return  to  the  U.S.  without  fear of exclusion from this country. Plaintiff respectfully requests that 

the  Court  require  the  Defendants  to  adjudicate the application for naturalization within the time 

periods  prescribed  by  law,  and  declare  that  the  Defendants’  actions  violate  the  naturalization 

statute  and  regulations,  laws  governing  administrative  agency  action  and  the  Due  Process 

Clause of the Fifth Amendment. 

                                           JURISDICTION AND VENUE 

        36.      This  Honorable  Court  has  federal  question  jurisdiction  over  this  cause  pursuant 

to  28  U.S.C.  §  1331,  as  it  raises  claims  under  the  Constitution  of the United States, the INA, 8 

U.S.C.  §  1101  ​et  seq.​ ,  8  U.S.C.  §  1447(b)  and  the  APA,  5  U.S.C.  §  701  ​et  seq​., in conjunction 

with the Mandamus Act, ​28 USC ​§ ​1361​. 

        37.      Venue  is  proper  pursuant  to  28  U.S.C.  §  1391(e)(1)  because  (1)  the  Defendants 

are  agencies  of  the  United  States  or  officers  or  employees  thereof  acting  in  their  official 

capacity or under color of legal authority; and, (2) no real property is involved in this action. 

                                                LEGAL FRAMEWORK 

        38.      To  naturalize  as  a  U.S.  citizen, an applicant must satisfy certain eligibility criteria 

under  the  INA  and  its  implementing  regulations.  See  8  U.S.C.  §§  1421-27,  1458;  8  C.F.R.  §§ 

316.1-316.14.28. 
           Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 8 of 21



        39.      Applicants  must  prove  that  they  are  “at  least  18  years  of  age,”  8  C.F.R.  § 

316.2(a)(1);  have  “resided  continuously,  after  being  lawfully admitted” in the United  States “for 

at  least  five  years”  (or  three  years  if  married  to  a  U.S.  citizen);  and  have  been  “physically 

present” in the United States for “at least half of that time.” 8 U.S.C. § 1427(a)(1). 

        40.      Applicants  must  also  demonstrate  “good  moral  character”  for  the  five  years 

preceding  the  date  of  application,  “attach[ment]  to  the  principles  of  the  Constitution  of  the 

United  States,  and  favorabl[e]  dispos[ition]  toward  the good order and happiness of the United 

States . . . .” 8 C.F.R. § 316.2(a)(7). 

        41.      An  applicant  is  presumed  to  possess  the  requisite  “good  moral  character”  for 

naturalization  unless,  during the five years preceding the date of the application, they are found 

(1)  to  be  a  habitual  drunkard,  (2)  to  have  committed  certain  drug-related  offenses,  (3)  to  be  a 

gambler whose income derives principally from gambling or has been convicted of two or more 

gambling  offenses,  (4)  to  have  given  false  testimony  for  the  purpose  of  obtaining  immigration 

benefits;  or  if  the  applicant  (5)  has  been  convicted  and  confined  to  a  penal  institution  for  an 

aggregate  period  of  180  days  or  more,  (6)  has  been  convicted  of  an  aggravated  felony,  or  (7) 

has  engaged  in  conduct  such  as  aiding  Nazi  persecution  or  participating  in  genocide,  torture, 

or extrajudicial killings. 8 U.S.C. § 1101(f)(6). 

        42.      An  applicant  is  barred  from  naturalizing  for  national  security-related  reasons  in 

circumstances  limited  to  those  codified  in  8  U.S.C. § 1424, including, inter alia, if the applicant 

has  advocated,  is  affiliated  with  any  organization  that  advocates,  or  writes  or  distributes 

information  that  advocates  “the overthrow by force or violence or other unconstitutional means 

of  the  Government  of  the  United  States,”  the  “duty,  necessity,  or  propriety  of  the  unlawful 

assaulting  or  killing  of  any  officer  .  . . of the Government of the United States,” or “the unlawful 

damage, injury, or destruction of property.” 

        43.      Once  an  individual  submits  an  application,  USCIS  conducts  a  background 
            Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 9 of 21



investigation,  see  8  U.S.C.  §  1446(a);  8  C.F.R.  §  335.1,  which  includes  a  full  FBI  criminal 

background check, see 8 C.F.R. § 335.2. 

        44.      After  completing  the  background  investigation,  USCIS  schedules  a 

naturalization  examination  at  which  the  applicant  meets  with  a  USCIS  examiner  for  an 

interview. 

        45.      In  order  to  avoid  inordinate  processing  delays  and  backlogs,  Congress  has 

stated  “that  the  processing  of  an  immigration  benefit  application,”  which  includes 

naturalization,  “should  be  completed  not  later  than  180  days  after  the  initial  filing  of  the 

application.” 8 U.S.C. § 1571(b).  

        46.      If  the  applicant  has  complied  with  all  requirements  for  naturalization,  federal 

regulations  state  that  USCIS  “​shall  grant  the  application.”  8  C.F.R.  §  335.3(a)  (emphasis 

added).  

        47.      Courts  have  long  recognized  that  “Congress  is  given  power  by  the Constitution 

to  establish  a  uniform  Rule  of  Naturalization.  .  .  .  And  when  it  establishes  such  uniform  rule, 

those  who come within its provisions are entitled to the benefit thereof as a matter of right. . . .” 

Schwab  v.  Coleman​, 145 F.2d 672, 676 (4th Cir. 1944) (emphasis added); ​see also ​Marcantonio 

v.  United  States​,  185  F.2d  934,  937  (4th  Cir. 1950) (“The opportunity having been conferred by 

the  Naturalization  Act,  there  is  a  statutory  right  in  the  alien  to  submit his petition and evidence 

to  a  court,  to  have  that  tribunal  pass  upon  them,  and,  if  the  requisite  facts  are  established,  to 

receive the certificate.” (quoting ​Tutun v. United States,​ 270 U.S. 568, 578 (1926))). 

        48.      Once  an  application  is  granted, the applicant is scheduled in to be sworn in as a 

U.S. citizen. 

                                             FACTUAL BACKGROUND 

        Controlled Application Review and Resolution Program 

        49.      In  April  2008,  USCIS  created  CARRP,  an  agency-wide  policy  for  identifying, 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 10 of 21



processing, and adjudicating immigration applications that raise “national security concerns.” 

        50.     Upon  information  and  belief,  prior  to  CARRP’s  enactment,  USCIS  simply 

delayed  the  adjudication  of  many  immigration  applications  that  raised  possible  “national 

security concerns,” in part due to backlogs created by the FBI Name Check. 

        51.     Congress  did not enact CARRP, and USCIS did not promulgate it as a proposed 

rule  with  the  notice-and-comment  procedures  mandated  by  the  APA.  See  5  U.S.C.  § 

553(b)-(c). 

        52.     Since  CARRP’s  inception,  USCIS  has  not  made  information  about  CARRP 

available to the public, except in response to Freedom of Information Act (“FOIA”) requests and 

litigation  to  compel  responses  to  those  requests.  In  fact,  the  program  was  unknown  to  the 

public,  including  applicants  for  immigration  benefits,  until  it  was  discovered  in  litigation 

challenging  an  unlawful denial of naturalization and then through the government’s response to 

a FOIA request. 

        53.     CARRP  directs  USCIS  officers  to  screen  immigration  applications—including 

applications  for  asylum,  visas,  lawful  permanent  residency,  and  naturalization—for  “national 

security concerns.” 

        54.     If  a  USCIS  officer  determines  that  an  application  presents  a  “national  security 

concern,”  it  takes  the  application  off  a  “routine  adjudication”  track  and—without  notifying  the 

applicant—places  it  on  a  CARRP  adjudication  track  where  it  is  subject  to  procedures  and 

criteria  unique  to  CARRP  that  result  in  lengthy  delays  and  prohibit approvals, except in limited 

circumstances, regardless of an applicant’s statutory eligibility. 

        CARRP’s Definition of a “National Security Concern” 

        55.     According  to  the  unauthorized  CARRP  definition  utilized  by  Defendants,  a 

“national  security  concern”  arises  when  “an  individual  or  organization  [that]  has  been 

determined  to  have  an  articulable  link”—no  matter  how  attenuated  or  unsubstantiated—“to 
          Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 11 of 21



prior,  current,  or  planned  involvement  in,  or  association  with,  an  activity,  individual,  or 

organization  described  in  sections  212(a)(3)(A),  (B),  or  (F),  or  237(a)(4)(A)  or  (B)  of  the 

Immigration  and  Nationality  Act.”  Those  sections  of  the  INA  make  inadmissible  or  removable 

any  individual  who,  inter  alia,  “has  engaged  in  terrorist  activity”  or  is  a  member  of  a  “terrorist 

organization.” 

        56.       For  the  reasons  described  herein,  an  individual  need  not  be  actually  suspected 

of  engaging  in  any  unlawful  activity  or  joining  any  forbidden  organization  to  be  branded  a 

“national security concern” under CARRP. 

        57.       CARRP  purportedly  distinguishes  between  two  types  of  “national  security 

concerns”:  those  ostensibly  involving  “Known  or  Suspected  Terrorists”  (“KSTs”),  and  those 

ostensibly involving “non-Known or Suspected Terrorists” (“non-KSTs”). 

        58.       USCIS  automatically  considers an applicant a KST, and thus a “national security 

concern,”  if  his  or  her  name  appears  in  the  Terrorist  Screening  Database  (“TSDB”)  (also 

referred  to  as  the  Terrorist  Watch  List).  USCIS,  therefore,  applies  CARRP  to  any  applicant 

whose name appears in the TSDB, regardless as to whether they actually belong on the list. 

        59.       Upon  information  and  belief,  the  TSDB  includes  as  many  as  one  million names, 

many of whom present no threat to the United States. 

        60.       The  government’s  recently  disclosed  criteria  for  watchlist  nominations,  known 

as  the  Watchlisting  Guidance,  impermissible  allows  non-U.S.  citizens,  including  LPRs,  to  be 

listed  in  the  TSDB  even  where  the  government  does  not  have  “reasonable  suspicion”  of 

involvement with terrorist activity.  

        61.       The  Guidance  permits  the  watchlisting  of  non-citizens  and  LPRs  simply  for 

being  associated  with  someone  else  who  has  been  watchlisted,  even  when  any  involvement 

with that person’s purportedly suspicious activity is unknown.  

        62.       The  Guidance  further  provides  that  non-citizens  and  LPRs  may  be  watchlisted 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 12 of 21



based  on  fragmentary  or  uncorroborated  information,  or  information  of  “suspected  reliability.” 

These  extremely  loose  standards  significantly  increase  the  likelihood  that  the  TSDB  contains 

information on individuals who are neither known nor appropriately suspected terrorists. 

        63.     To  make matters worse, the Terrorist Screening Center (“TSC”), which maintains 

the  TSDB,  has  failed  to  ensure  that  innocent  individuals  are  not  watchlisted  or  are  promptly 

removed from watchlists.  

        64.     In  the  year  2013,  the  watchlisting  community  added  468,749  individuals  to  the 

TSDB, and the TSC rejected only approximately one percent of those nominations.  

        65.     In  2009,  the  Government  Accountability  Office  found  that  35  percent  of  the 

nominations  to  the  TSDB  were  outdated,  and  that  tens  of  thousands  of  names  had  been 

placed on the list without an adequate factual basis.  

        66.     The  Inspector  General  of  the  Department  of  Justice  has  criticized  the  Terrorist 

Screening  Center,  which  maintains  the  TSDB,  for  employing  weak  quality  assurance 

mechanisms  and  for  failing  to  remove  subjects  from  the  TSDB  when  information  no  longer 

supports  their  inclusion.  Public  reports  also  confirm  that  the  government  has  nominated  or 

kept people on government watchlists as a result of human error. 

        67.     The  federal  government’s  official  policy  is  to  refuse  to  confirm  or  deny  give 

individuals’  inclusion  in  the  TSDB  or  provide  a  meaningful  opportunity  to  challenge  that 

inclusion.  

        68.     Nevertheless,  individuals  can  become  aware  of  their  inclusion  due  to  air  travel 

experiences. In particular, individuals may learn that they are on the “Selectee List,” a subset of 

the TSDB, if they have the code “SSSS” listed on their boarding passes. They may also learn of 

their  inclusion  in  the  TSDB  if  U.S.  federal  agents  regularly  subject  them  to  secondary 

inspection  when  they  enter  the  United  States  from  abroad  or  when  boarding  a flight over U.S. 

airspace.  Such  individuals  are  also  often  unable  to  check  in  for  flights  online  or  at  airline 
          Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 13 of 21



electronic kiosks at the airport. 

        69.      Where  the  KST  designation  does  not  apply, CARRP instructs officers to look for 

“indicators” of a “non-Known or Suspected Terrorist” (“non-KST”) concern. 

        70.      These  indicators  fall  into  three  categories:  (1)  statutory  indicators;  (2) 

non-statutory indicators; and (3) indicators contained in security check results. 

        71.      “Statutory  indicators”  of  a  “national  security  concern”  arise  when  an  individual 

generally  meets  the  definitions  described  in  Sections  212(a)(3)(A),  (B),  and  (F),  and  237(a)(4)(A) 

and  (B)  of  the  INA  (codified  at  8  U.S.C.  §  1182(a)(3)(A),  (B), and (F) and § 1227(a)(4)(A) and (B)), 

which list the security and terrorism grounds of inadmissibility and removability. 

        72.      However,  CARRP  expressly  defines  statutory  indicators  of  a  “national  security 

concern”  more  broadly  than  the  statute,  stating  “the  facts  of  the  case  do  not  need  to  satisfy 

the  legal  standard  used  in  determining  admissibility  or  removability”  under  those  provisions of 

the  INA  to  give  rise  to  a  “non-KST”  “national  security  concern.”  This  is  illegal  and  contrary to 

law. 

        73.      For  example,  CARRP  specifically  directs  USCIS  officers  to  look  at  evidence  of 

charitable  donations  to  organizations  later  designated  as  financiers  of  terrorism  by  the  U.S. 

Treasury  Department  and  to  construe  such  donations  as  evidence  of  a  “national  security 

concern,”  even  if  an  individual  had  made  such  donations  without  any  knowledge  or  any 

reasonable  way  of  knowing  that  the  organization  was  allegedly engaged in proscribed activity. 

Such  conduct  would  not  make  an  applicant  inadmissible  for  a  visa  or  lawful  permanent 

resident  status  under  the  statute,  see  INA  §  212(a)(3)(B),  8  U.S.C.  §  1182(a)(3)(B),  nor  does  it 

have any bearing on a naturalization application. 

        74.      “Non-statutory  indicators”  of  a  “national  security  concern”  include  “travel 

through  or  residence  in  areas  of  known  terrorist  activity”;  “large  scale  transfer  or  receipt  of 

funds”;  a  person’s  employment,  training,  or  government  affiliations; the identities of a person’s 
          Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 14 of 21



family  members  or  close  associates,  such  as  a  “roommate,  co-worker,  employee,  owner, 

partner, affiliate, or friend”; or simply “other suspicious activities.” 

        75.     Finally,  security  check  results  are  considered  indicators  of  a  “national  security 

concern”  in  instances  where,  for  example,  the FBI Name Check—one of many security checks 

utilized  by  USCIS—produces  a  positive  hit on an applicant’s name and the applicant’s name is 

associated  with  a  national  security  related  investigatory  file.  Upon  information  and  belief,  this 

indicator  leads  USCIS  to  label  applicants  “national  security  concerns”  solely  because  their 

names  appear  in  a  law  enforcement  or  intelligence  file,  even  if  they  were  never  the  subject  of 

an investigation.  

        76.     Thus,  an  applicant’s  name  could  appear  in  a  law  enforcement file in connection 

with  a  national  security  investigation  because  he  or  she  once  gave  a  voluntary  interview  to  an 

FBI  agent,  he  or  she  attended  a  mosque  that  was  the  subject  of  FBI surveillance, or he or she 

knew or was associated with someone under investigation. 

        77.     Upon  information  and  belief,  CARRP  labels  applicants  “national  security 

concerns”  based  on  vague  and  overbroad  criteria  that  often  turn  on  lawful  activity,  national 

origin,  and  innocuous associations. These criteria are untethered from the statutory criteria that 

determine  whether  or  not  a  person  is  eligible  for  the  immigration  status  they  seek,  and  are  so 

general  that  they  necessarily  ensnare  individuals  who  pose  no  threat  to  the  security  of  the 

United States.  

        Delay and Denial 

        78.     Once  a  USCIS  officer  identifies  a  CARRP-defined  “national  security  concern,” 

the  application  is  subjected  to  CARRP’s  rules  and  procedures that guide officers to deny such 

applications or, if an officer cannot find a basis to deny the application, to delay adjudication as 

long as possible. 

        79.       One  such  procedure  is  called  “deconfliction,”  which  requires  USCIS  to 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 15 of 21



coordinate  with—and,  upon  information  and  belief,  subordinate  its  authority  to—the  law 

enforcement  agency,  often  the  FBI,  that  possesses  information  giving  rise  to  the  supposed 

national security concern. 

        80.      During  deconfliction,  the  relevant  law  enforcement  agency  has  authority  to 

instruct  USCIS  to  ask  certain  questions  in  an  interview  or  to  issue  a  Request  for  Evidence 

(“RFE”);  to  comment  on  a  proposed  decision  on the benefit; and to request that an application 

be denied, granted, or held in abeyance for an indefinite period of time. 

        81.      Upon  information  and  belief,  deconfliction  not  only  allows  law  enforcement  or 

intelligence  agencies  to  directly  affect  the  adjudication  of  a  requested  immigration benefit, but 

also  results  in  independent  interrogations  of  the  immigration  applicant—or  the  applicant’s 

friends and family—by agencies such as the FBI. 

        82.      Upon  information  and  belief,  USCIS  often  makes  decisions  to deny immigration 

applications  because  the  FBI  requests or recommends the denial, not because the person was 

statutorily  ineligible  for  the  benefit.  The  FBI  often  requests  that  USCIS  hold  or  deny  an 

application  not  because  the  applicant  poses  a  threat,  but  because  it seeks to use the pending 

immigration  application  to  coerce  the  applicant  to  act  as  an  informant  or  otherwise  provide 

information.  

        83.      In  addition  to  “deconfliction,”  once  officers  identify  an  applicant  as  a  “national 

security  concern,”  CARRP  directs  officers  to  perform  an  “eligibility  assessment”  to  determine 

whether the applicant is eligible for the benefit sought. 

        84.      Upon  information  and  belief,  at  this  stage,  CARRP  instructs  officers  to  look  for 

any  possible  reason  to  deny  an  application  so  that  “valuable  time  and  resources  are  not 

unnecessarily  expended”  to  investigate  the  possible  “national  security  concern.”  Where  no 

legitimate  reason  supports  denial  of  an  application  subjected  to  CARRP,  USCIS  officers  often 

invent false or pretextual reasons to deny the application. 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 16 of 21



        85.     Upon  information  and  belief,  if,  after  performing  the  eligibility  assessment,  an 

officer  cannot  find  a  reason  to  deny  an  application,  CARRP  instructs officers to first “internally 

vet” the “national security concern” using information available in DHS systems and databases, 

open source information, review of the applicant’s file, RFEs, and interviews or site visits.  

        86.     After  conducting  the  eligibility  assessment  and  internal  vetting,  USCIS  officers 

are  instructed  to  again  conduct  “deconfliction”  to  determine  the  position  of  any interested law 

enforcement agency.  

        87.     If  the  “national  security  concern”  remains  and  the  officer  cannot  find  a  basis  to 

deny the benefit, the application then proceeds to “external vetting.” 

        88.     During  “external  vetting,”  USCIS  instructs  officers  to  confirm  the  existence  of 

the  “national  security  concern” with the law enforcement or intelligence agency that possesses 

the  information  that  created  the  concern  and  obtain  additional  information  from  that  agency 

about the concern and its relevance to the individual.  

        89.     CARRP  authorizes  USCIS  officers  to  hold  applications  in  abeyance  for  periods 

of  180  days  to  enable  law  enforcement  agents  and  USCIS  officers  to  investigate  the “national 

security  concern.”  The  Field  Office  Director  may  extend  the  abeyance  periods  so  long  as  the 

investigation remains open.  

        90.     Upon  information  and  belief,  CARRP  provides no outer limit on how long USCIS 

may  hold  a  case  in  abeyance,  even  though  Congress  has  made  clear  its  intent  that  USCIS 

adjudicate  immigration  applications,  including  for  naturalization  and  lawful  permanent 

residence, within 180 days of filing the application. 8 U.S.C. § 1571(b). 

        91.     When  USCIS  considers  an  applicant  to  be  a  KST  “national  security  concern,” 

CARRP  forbids  USCIS  field  officers  from  granting  the  requested  benefit  even  if  the  applicant 

satisfies all statutory and regulatory criteria. 

        92.     When  USCIS  considers  an  applicant  to  be  a  non-KST  “national  security 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 17 of 21



concern,”  CARRP  forbids  USCIS  field  officers  from  granting  the  requested  benefit  in  the 

absence of supervisory approval and concurrence from a senior level USCIS official. 

        93.     In  ​Hamdi  v.  USCIS​,  2012  WL  632397,  when asked whether USCIS’s decision to 

brand  naturalization  applicant  Tarek  Hamdi  as  a  “national  security  concern”  affected  whether 

he  was  eligible  for  naturalization,  a  USCIS  witness  testified  at  deposition that “it doesn’t make 

him  statutorily  ineligible,  but  because  he is a—he still has a national security concern, it affects 

whether  or  not  we  can  approve  him.”  The  witness  testified  that,  under  CARRP,  “until  [the] 

national security concern [is] resolved, he won’t get approved.” 

        94.     Upon  information  and  belief,  USCIS  often  delays  adjudication  of  applications 

subject  to CARRP when it cannot find a reason to deny the application. When an applicant files 

a  mandamus  action  to  compel  USCIS  to  finally  adjudicate  his  or  her  pending  application,  it 

often  has  the  effect  of  forcing  USCIS  to  deny a statutorily-eligible application because CARRP 

prevents  agency  field  officers  from  granting  an  application  involving  a  “national  security 

concern.” 

        95.     CARRP  effectively  creates  two  substantive  regimes  for  immigration  application 

processing  and  adjudication: one for those applications subject to CARRP and one for all other 

applications.  CARRP  rules  and  procedures  create  substantive  eligibility  criteria  that  exclude 

applicants from immigration benefits to which they are entitled by law. 

        96.     At  no  point  during  the  CARRP  process  is  the  applicant  made  aware  that  he  or 

she  has  been  labeled  a  “national  security  concern,”  nor  is  the  applicant  ever  provided with an 

opportunity to respond to and contest the classification. 

        97.     Upon  information  and  belief,  CARRP  results  in  extraordinary  processing  and 

adjudication  delays,  often  lasting  many  years,  and  baseless  denials  of  statutorily-eligible 

immigration applications. 

                          COUNT I - IMMIGRATION & NATIONALITY ACT AND 
                                   IMPLEMENTING REGULATIONS 
         Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 18 of 21



                                                            
        98.       Plaintiff  incorporates  the  allegations  of  the  preceding  paragraphs  as  if  fully  set 

forth herein.  

        99.       To  secure  naturalization,  an  applicant  must  satisfy  certain  statutorily 

-enumerated criteria. 

        100.      By  its  terms,  CARRP  creates  additional,  non-statutory,  substantive  criteria  that 

must be met prior to a grant of a naturalization application. 

        101.      Accordingly,  CARRP  violates  8  U.S.C.  §  1427,  8  C.F.R.  §  316.2,  and  8  C.F.R. § 

335.3,  as  those provisions set forth the exclusive applicable statutory and regulatory criteria for 

a grant of naturalization. 

        102.      Because  of  this  violation  and  because  CARRP’s  additional,  non-statutory, 

substantive  criteria  have  been  applied  to Plaintiff.  Plaintiff has suffered and continues to suffer 

injury in the form of an unreasonable delay of his application for naturalization. 

                             COUNT II - UNIFORM RULE OF NATURALIZATION 
         
        103.      Plaintiff  incorporates  the  allegations  of  the  preceding  paragraphs  as  if  fully  set 

forth herein. 

        104.      Congress  has  the  sole  power  to  establish  criteria  for  naturalization,  and  any 

additional requirements, not enacted by Congress, are ​ultra vires​.  

        105.      By  its  terms,  CARRP  creates  additional,  non-statutory,  substantive  criteria  that 

must be met prior to a grant of a naturalization application.  

        106.      Accordingly,  CARRP  violates  Article  I,  Section  8,  Clause  4  of  the  United  States 

Constitution. 

        107.      Because  of  this  violation  and  because  CARRP’s  additional,  non-statutory, 

substantive  criteria  have  been  applied  to Plaintiff.  Plaintiff has suffered and continues to suffer 

injury in the form of the adjudication of his application for naturalization. 

                    COUNT III - ADMINISTRATIVE PROCEDURE ACT (5 U.S.C. § 706) 
           Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 19 of 21



         
        108.      Plaintiff  incorporates  the  allegations  of  the  preceding  paragraphs  as  if  fully  set 

forth herein. 

        109.      CARRP constitutes final agency action that is arbitrary and capricious because it 

“neither  focuses  on  nor  relates  to  a  [non-citizen’s]  fitness  to”  obtain  the  immigration  benefits 

subject to its terms. ​Judulang v. Holder,​ 132 S. Ct. 476, 485 (2011).  

        110.      CARRP  is  also  not  in  accordance  with  law,  is  contrary  to  constitutional  rights, 

and  is  in  excess  of  statutory  authority  because  it  violates  the  INA  and  exceeds  USCIS’s 

statutory authority to implement (not create) the immigration laws, as alleged herein. 

        111.      As a result of these violations, Plaintiff has suffered and continues to suffer injury 

in the form of an unreasonable delay of the adjudication of his application for naturalization. 

            COUNT IV - ADMINISTRATIVE PROCEDURE ACT (NOTICE AND COMMENT) 

        112.      Plaintiff  incorporates  the  allegations  of  the  preceding  paragraphs  as  if  fully  set 

forth herein.  

        113.      The  Administrative  Procedures  Act  (“APA”),  5  U.S.C.  §  553,  requires 

administrative  agencies  to  provide  a  notice-and-comment  period  prior  to  implementing  a 

substantive rule. 

        114.      CARRP  constitutes  a  substantive  agency  rule  within  the  meaning  of  5  U.S.C.  § 

551(4). 

        115.      Defendants  failed  to  provide  a notice-and-comment period prior to the adoption 

of  CARRP.           Because  CARRP  is  a  substantive  rule  promulgated  without  the 

notice-and-comment period, it violates 5 U.S.C. § 553 and is therefore invalid. 

        116.      As a result of these violations, Plaintiff has suffered and continues to suffer injury 

in the form of an unreasonable delay of the adjudication of his application for naturalization. 

                    COUNT V - FIFTH AMENDMENT (PROCEDURAL DUE PROCESS) 
                                              
          Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 20 of 21



        117.     Plaintiff  incorporates  the  allegations  of  the  preceding  paragraphs  as  if  fully  set 

forth herein. 

        118.     Plaintiff’s  compliance  with the statutory and regulatory requirements established 

in  8  U.S.C.  §  1427  and  8  C.F.R.  §  316.2  (for  naturalization  applicants),  and  in  8  U.S.C. § 1159 

and  8  C.F.R.  §  335.3  (for  adjustment  of  status  applicants),  vests  in  him  a  constitutionally 

protected property and liberty interest.  

        119.     This  constitutionally-protected  property  or  liberty  interest  triggers  procedural 

due process protection. 

        120.     Defendants’  failure  to  give  Plaintiff  notice  of  a  classification  under  CARRP,  a 

meaningful  explanation  of  the reason for such classification, and any process by which Plaintiff 

can  challenge  this  classification,  violates  the  Due  Process  Clause  of  the  Fifth  Amendment  to 

the United States Constitution. 

        121.     Because  of  this  violation,  Plaintiff  has  suffered  and  continues  to  suffer  injury  in 

the form of an unreasonable delay of the adjudication of his application for naturalization. 

                                              PRAYER FOR RELIEF 

        WHEREFORE,  Plaintiff  Oluwaseun  Emovon  respectfully  requests  that  the  Court  grant 

the following relief: 

        1.       Enter  a judgment declaring that (a) CARRP violates the INA and its implementing 

regulations;  Article  1,  Section  8,  Clause  4  of  the  United  States  Constitution;  the  Fifth 

Amendment  to  the  United  States  Constitution;  and  the  APA;  and  (b)  Defendants  violated  the 

APA  by  adopting  CARRP  without  promulgating  a  rule  and following the process for notice and 

comment by the public; 

        2.       Enjoin  Defendants,  their  subordinates,  agents,  employees,  and  all  others  acting 

in  concert  with  them  from  applying  CARRP  to  the  processing  and  adjudication  of  Plaintiff’s 

immigration benefit applications;  
            Case 1:19-cv-01259-CKK Document 1 Filed 05/01/19 Page 21 of 21



        3.      Order  Defendants  to  rescind  CARRP  because  they  failed  to  follow  the  process 

for notice and comment by the public;  

        4.      Enjoin  Defendants  and  order  them  to:  (1)  take  all  necessary  steps  to  complete 

the  FBI  name  checks  of  Plaintiff  within  30  days  and  finally  adjudicate  Plaintiff’s  I-751  and 

N-400 Applications within 30 days; 

        5.      Award  Plaintiff  reasonable  attorneys’  fees  and  costs  under  the  Equal  Access  to 

Justice Act; and 

        6.      Grant any other relief that this Court may deem fit and proper. 


         


                                                                     RESPECTFULLY SUBMITTED 
                                                                                                        
                                                                           This 1st day of May, 2019 
                                                                                                        
                                                                            /s/ James O. Hacking, III 
                                                              James O. Hacking, III, MO Bar # 46728 
                                                                          Hacking Law Practice, LLC 
                                                                              10900 Manchester Rd. 
                                                                                              Suite 203 
                                                                                 St. Louis, MO 63122 
                                                                                     (O) 314.961.8200 
                                                                                      (F) 314.961.8201 
                                                                   (E) ​jim@hackinglawpractice.com  
                                                                                                        
                                                                      ATTORNEYS FOR PLAINTIFF 
 
                                                                                                           
 
